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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
DOUGLAS J. HORN and CINDY HARP-HORN,
                                                                       Civil Action No:

                                   Plaintiffs,                         15-cv-701 FPG/MJR

                          -against-

MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                                    Defendants,
-------------------------------------------------------------------X

    PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
             MOTION FOR PARTIAL SUMMARY JUDGMENT

        The Plaintiffs, Douglas J. Horn and Cindy Harp-Horn (“Plaintiffs”), submit this

Memorandum of Law in Support of their Motion for Partial Summary Judgment. This

motion is “partial” as it seeks judgment of liability only as to Plaintiffs’ first two (2)

causes of action: the combined New York General Business Law (“GBL”) Art 22-A,

§349 (“Deceptive Practices Act” or GBL §349”) and GBL §350 for false advertising, and

the federal Racketeer Influenced and Corrupt Organizations Act (“RICO”) 18 U.S.C.

§1962(a)-(d) claims. Judgment on the issue of damages is specifically not sought in this

motion. For the reasons that follow, the Plaintiffs’ Motion should be granted in its

entirety.

                                         Statement of Facts

        For the sake of brevity as to the facts, the Plaintiffs respectfully refer the Court to

the annexed Affidavit of the Plaintiffs, as well as the Local Rule 56(a)(1) Statement

accompanying the Notice of Motion as required.



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                          Predicate Acts and False Advertising

       Plaintiffs fully incorporate by reference herein, Plaintiff’s Expert’s (Dr. Kenneth

D. Graham, Forensic Toxicologist and Pharmacologist) annexed Affidavit along with his

two (2) supporting Reports disclosed in discovery in this case. Because Dr. Graham is a

“Forensic” Toxicologist, he is uniquely qualified to show the Court the marriage between

law and science in this matter to prove Defendants’ strict liability under these statutes for

the manufacturing, distributing, selling and the sending of their Dixie Dew Drops

Tincture product that may very well have been legal to distribute and sell in Colorado in

2012, but was clearly illegal in New York then.

       Briefly stated, in his review of the materials in this case, Dr. Graham identified

multiple per se violations of the federal Controlled Substances Act (“CSA”) with respect

to Defendants’ conduct, testimony and the documents they produced. Dr. Graham has

shown the Defendants liable for the below predicate statutory offenses, the existence of

which prove Plaintiffs’ cases under §349 and GBL §350 for false advertising, and inter

alia, mail and wire fraud under the federal Racketeer Influenced and Corrupt

Organizations Act (“RICO”) 18 U.S.C. §1962(a)-(d).

       More specifically, Dr. Graham showed that the Defendants’ final product

formulations of the Dixie X Dew Drops Tincture product with the presence of

“any” amount of THC rendered it a Schedule 1 controlled substance as described

under 21 U.S.C. §1308.11, and not eligible for an exemption to a Schedule I

classification under 21 U.S.C. §1308.35 since it was formulated, marketed and

distributed for human consumption.




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       Further, Dr. Graham showed that Defendants’ manufacturing process test

results in its Certificates of Analysis produced in discovery showing the presence

of THC in the product signifies that the advertising and public statements

asserting the product contained “no THC” were false and unlawful under 15

U.S.C §52.

       Dr. Graham stated that since the Defendants were not registered with the

US Drug Enforcement Administration, their distribution of a Schedule I

substance, such as Dixie Dew Drops Tincture product across state lines was

unlawful under 21 U.S.C §801-971 and, if the product was shipped through the

domestic mail system, the distribution was also unlawful under 18 U.S.C. §1716.

In addition, the defendants manufactured and distributed a controlled substance in

violation of 21 U.S.C. §841.

       As a Schedule I controlled drug substance under 21 U.S.C. §1308.11,

Dixie X Elixir was subject to specific packaging and labelling requirements under

21 U.S.C. §1302.03. Since the product was a Schedule I controlled substance, the

absence of language on its packaging and labels therefore violated packaging and

labeling requirements under 21 U.S.C. §1302.03.

       Finally the multiple representations that Defendants disseminated across

multiple media that the products “do not conflict with any state or Federal law”

and that the parent company, Medical Marijuana, Inc. “does not grow, sell or

distribute any substances that violate United States Law or the controlled

substances act” are clearly false and violate 15 U.S.C §52 covering the

dissemination of false advertisements.




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       These multiple violations of the Controlled Substances Act summarized

above constitute strict liability under the two causes of action under which

Plaintiffs’ move herein.


                     STANDARD FOR SUMMARY JUDGMENT

       A court “shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” FRCP 56(a). “The role of the court is not to resolve disputed issues of fact but to

assess whether there are any factual issues to be tried . . .” Brod v. Omya, Inc., 653 F.3d

156, 164 (2d Cir. 2011). No genuine issue of material fact exists “where the record taken

as a whole could not lead a rational trier of fact to find for the non-moving party.”

Lovejoy-Wilson v. NOCO Motor Fuel, Inc., 263 F.3d 208, 212 (2d Cir. 2001) (citing

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348,

89 L. Ed. 2d 538 (1986)).

       If the moving party satisfies this burden, the non-moving party must “make a

showing sufficient to establish the existence of [each] element to that party’s case . . .

since a complete failure of proof concerning an essential element of the non-moving

party’s case necessarily renders all other facts immaterial.” Celotex Corp. v. Catrett, 477

U.S. 317, 322-23, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).

       Here, summary judgment for Plaintiffs is particularly appropriate based inter alia

upon 1) the admissions made by Defendants in the Certificates of Analysis they

produced; 2) the admissions made by Defendants’ expert as to those documents and her

testimony concerning Defendants utter failure to even test the product that it sent to

Plaintiffs; 3) the overwhelming and irrefutable evidence and testimony of Forensic



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Toxicologist and Pharmacologist Dr. Kenneth Graham citing the multiple violations of

the Controlled Substances Act.

                                          Argument

    I.      Plaintiffs Have Proven Every Element Under Their RICO Claims.

         To establish a civil RICO claim, Plaintiff must establish (A) a separate and

distinct RICO enterprise that (B) engaged in a pattern of racketeering activity (C) causing

harm to the Plaintiff. 18 U.S.C. § 1962(c); Riverwoods Chappaqua Corp. v. Marine

Midland Bank, 30 F.3d 339, 343-44 (2d Cir. 1994).


         A) Separate and Distinct RICO Enterprise

         A civil RICO claim arises under 18 U.S.C. § 1962(c) when a RICO “person”

participates in the conduct of a RICO “enterprise” through a pattern of racketeering

activity:


         “It shall be unlawful for any person employed by or associated with any
         enterprise engaged in, or the activities of which affect, interstate or foreign
         commerce, to conduct or participate, directly or indirectly, in the conduct
         of such enterprise's affairs through a pattern of racketeering activity or
         collection of unlawful debt.” 18 U.S.C. § 1962(c).

         The “person” and “enterprise” in a civil RICO action must be distinct. See

Riverwoods, 30 F.3d at 344. In other words, a RICO claim requires at least two separate

and distinct entities. See Cedric Kushner Promotions Ltd. v. King, 533 U.S. 158, 161, 121

S. Ct. 2087, 150 L. Ed. 2d 198 (2001) (requiring “[t]he existence of two distinct entities:

(1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same ‘person’ referred to by a

different name”).


         When analyzing a civil RICO claim, the Court “begin[s] from an understanding of




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what enterprise is alleged.” Crabhouse of Douglaston Inc. v. Newsday Inc., 801 F. Supp.

2d 64, 74 (E.D.N.Y. 2011) (Hurley, J.) (quoting Spira v. Nick, 876 F. Supp. 553, 561

(S.D.N.Y. 1995) (Kaplan, J.)). There are two types of RICO enterprises: “’legal entities’

such as corporations and partnerships, and ‘any union or group of individuals associated

in fact although not a legal entity.’” Gross v. Waywell, 628 F. Supp. 2d 475, 497

(S.D.N.Y. 2009) (Marrero, J.) (quoting 18 U.S.C. §1961(4)).


        The latter enterprise, known as an “association-in-fact” enterprise, applies here,

where the RICO enterprise is comprised of the three “persons” i.e. the legal entity

Defendants Medical Marijuana, Inc, Dixie Elixirs, LLC. and Red Dice Holdings, LLC.

Each of these legal entities had a hand in the promotion and marketing, manufacturing

and distributing, packaging and labeling, and selling and sending out the Dixie Dew

Drops Tincture product containing the controlled substance THC to consumers in New

York, which Plaintiff Douglas Horn took. There is no better example of a RICO

enterprise than the coordinated effort of these three Defendants to market, distribute, sell

and of course profit from, the Tincture product sold to Plaintiff here. In 2012, Defendants

stated in their press release those many years ago their medical marijuana industry had a

value of $5,000,000,000. See Exhibit “10.”


        B. Pattern of Racketeering Activity

        The second element for a civil RICO action is a pattern of racketeering activity. A

pattern of racketeering activity requires “at least two acts of racketeering activity, . . . the

last of which occurred within ten years . . . after the commission of a prior act of

racketeering activity. 18 U.S.C. §1961(5). An act of racketeering “must be among the

various criminal offenses list[ed] in §1961(1), and they must be ‘related, and [either]


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amount to or pose a threat of continuing criminal activity.’” Spool v. World Child Intern.

Adoption Agency, 520 F.3d 178, 183 (2d Cir. 2008) (citation omitted). In short, a “pattern

of racketeering activity” must consist of (1) multiple racketeering activities (2) that

threaten continuing criminal activity.


       i) At Least Two Acts of Racketeering

       Plaintiffs’ Complaint (Exhibit “A”) alleges the following under 18 U.S.C.

§1961(1) and §1962:

       a) Selling and/or distributing a product through the U.S. mail that was known or

           should have been known to be a controlled substance or otherwise illegal or

           otherwise in violation of federal or state law;

       b) Inducing the sale of an illegal product through promises of curing medical

           conditions of consumer purchasers of said product;

       c) Misrepresenting in advertising that the Dixie Products were safe and legal for

           consumers;

       d) Misrepresenting that the products complied New York State and the federal

           laws and regulations;

       e) Purposefully failing to disclose material facts regarding the product to induce

           the purchase of an illegal product;

       f) Concealing the true chemical content from consumers in its advertising and

           labelling in order to avoid inquiry into the legality of same.


       Through evidence and testimony elicited in this case, Plaintiffs have proven all of

the above, though they are only required to prove two (2). Notwithstanding this limited

list in a)-f) above, the evidence and testimony Plaintiffs have elicited in this case prove


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far more bad conduct. (See the Affidavit and accompanying reports of Dr. Kenneth

Graham annexed to this Motion).


       Civil RICO deputizes civil litigants as “private attorney general[s]” to further the

“preventive and remedial” purposes of the statute. Id. at 481 (quoting United States v.

Turkette, 452 U.S. 576, 593, 101 S. Ct. 2524, 69 L. Ed. 2d 246 (1981), and Agency

Holding Corp. v. Malley-Duff & Associates, Inc., 483 U.S. 143, 107 S. Ct. 2759, 97 L.

Ed. 2d 121 (1987)). The Court acts as a gatekeeper in civil RICO cases to ensure that the

alleged offenses are “of a degree sufficiently serious not only to inflict injury upon its

immediate private victims, but also to cause harm to significant public processes

or institutions, or otherwise pose threats to larger societal interests worthy of the severe

punitive and deterrent purposes embodied in the statute. Id. The alleged offenses here are

serious. Plaintiffs have proven multiple violations of the Controlled Substances Act,

which evidences a significant risk of repetition across the entire U.S. consumer landscape

and exemplifies civil RICO’s “preventive” purpose:


       There is nothing more illustrative of Defendants’ liability then their own later-
published statement in an FAQ, admitting to the very liability Plaintiffs have proven here.
Dixie’s answer in the attached Exhibit “3”, in the April 8, 2015 FAQ stated the
following:

       “Does Cannibidiol (CBD) and other natural hemp based constituents show
up on a drug test?” (bold in the original).

       “Most workplace drug screens and tests target delta9-tetrahydrocannabinol
(THC) and do not detect the presence of Cannabidiol (CBD) or other legal
natural hemp based constituents. However, studies have shown that eating hemp
foods and oils can cause confirmed positive results when screening urine and
blood specimens. Accordingly, if you are subject to any form of drug testing, we
recommend (as does the United States Military) that you DO-NOT ingest our


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products, and consult with your healthcare, drug screening/testing company or
employer.” Emphasis added.

       It cannot not be often that a Plaintiff can find an admission, or even an

acknowledgement, of racketeering activity such as that in the above, albeit years after

Defendants put a controlled substance out in the stream of commerce. In publishing such

a damning statement, Defendants appear to have taken a dose of honesty after their false

advertising of the product throughout 2012 and forward.


       ii) Continuity

       Plaintiffs have clearly proven continuity when it comes to Defendants’ enterprise.

Throughout all Exhibits offered to Court in support of this motion, it is clear that

Defendants are a mainstay in the promotion, marketing, manufacture, distribution, sale

and shipment of their controlled substance products (Dixie Dew Drops Tincture here)

since their inception in 2012. The fact that Defendants’ FAQs, having changed over the

years to actually recommend not to take their product if a consumer is subject to

workplace drug testing, is dispositive proof of this continuity recognized by the RICO

statute and case law.


       C. Harm and Causation

       While Plaintiffs specifically do not seek summary judgment on the issue of

damages here, they clearly have suffered now six (6) years of career-ending financial

harm. Annexed hereto as Exhibit “14” is a copy of Plaintiff’s expert Economist’s (Dr.

Mark Zaporowski) report finding damages in the amount of $836,544 as of one year ago.


       “To establish a RICO claim, a plaintiff must show: (1) a violation of the RICO

statute, 18 U.S.C. §1962; (2) an injury to business or property; and (3) that the injury was


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caused by the violation of Section 1962.” Spool, 520 F.3d at 183.


         As for Causation, the Second Circuit uses a two-part test for proximate cause in

civil RICO. Baisch v. Gallina, 346 F.3d 366, 373 (2d Cir. 2003). “First, the plaintiff's

injury must have been ‘proximately caused by a pattern of racketeering activity violating

18 U.S.C. §1962 or by individual RICO predicate acts.’” (quoting Lerner v. Fleet Bank,

318 F.3d 113 (2d Cir 2003). “Second, the plaintiff must have suffered a direct injury

that was foreseeable.” Here, Plaintiffs have clearly shown in their attached Affidavit that

but for taking Defendants product, the distribution of which was the racketeering activity

and the RICO predicate acts, Plaintiff Douglas Horn would not have been terminated

from his employment. He took the product proximate in time to the positive test for THC

in the drug screening, and had no employment or criminal history of marijuana use.

   II.      Plaintiffs Have Proven Every Element of Their Claims Under GBL 349
            and 350 for Deceptive Practices and False Advertising.

         Only two weeks ago, this very Court by the Hon. Frank P. Geraci, Jr. considered

the standard under GBL 349 and GBL 350 in a labeling case such as the one here, in part.

In Holve v. McCormick & Co., 2018 U.S. Dist. LEXIS 137428 (W.D.N.Y. August 14,

2018), this Court stated Plaintiffs’ burden of proof at page 36:


         “New York’s GBL §§349 and 350 prohibit “[d]eceptive acts or practices
         in the conduct of any business, trade, or commerce or in the furnishing of
         any service in this state’ and materially misleading advertising,
         respectively.” Petrosino v. Stearn's Prods., No. 16-CV-7735 (NSR), 2018
         U.S. Dist. LEXIS 55818, 2018 WL 1614349, at *6 (S.D.N.Y. Mar. 30,
         2018) ) (alterations in original) (citing GBL §§ 349(a), 350. A plaintiff
         must allege the following to state a prima facie claim under GBL § 349:
         “(1) the act or practice was consumer-oriented; (2) the act or practice was
         misleading in a material respect; and (3) the plaintiff was injured as a
         result.” Spagnola v. Chubb Corp., 574 F.3d 64, 74 (2d Cir. 2009) (citing
         Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir. 2000)). Whether an act
         or practice is deemed “misleading in a material respect” turns on whether


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       it would be misleading or deceptive “to a reasonable consumer acting
       reasonably under the circumstances.” Goldemberg v. Johnson & Johnson
       Consumer Cos., Inc., 8 F. Supp. 3d 467, 478 (S.D.N.Y. 2014). The
       elements of a claim under § 350 are the same as those under § 349, except
       that a plaintiff must also demonstrate that the claim relates specifically to
       false advertising. See Koch v. Greenberg, 14 F. Supp. 3d 247, 261
       (S.D.N.Y. 2014) (“GBL §350 prohibits false advertising and has the same
       elements as § 349 . . . .”).

       a) Consumer-Oriented

       There is simply no question that the offering of the Dixie X Tincture product to

the general public through magazine advertisements, You Tube videos, FAQs, press

releases and the utter absence of warning labels as to THC or controlled substance

content was consumer oriented conduct by the Defendants. The basis of this case is that

Plaintiff Douglas consumed this product and immediately afterward tested positive for

THC, and was then immediately terminated from his employment.

       b) Misleading Act or Practice

       Plaintiffs’ set out to prove that list of deceptive practices and false advertising acts

in their Complaint (Exhibit “A”) under GBL §349 and §350:

       a.      misrepresenting in advertising that the Dixie Products were safe and legal
               for consumers;

       b.      misrepresenting in advertising that Defendants had adequately tested their
               products;

       c.      misrepresenting that the products complied New York State and the
               federal laws and regulations;

       d.      misrepresenting that their products contained no THC;

       e.      misrepresenting that the ingestion of its products would not cause a
               positive toxicology result;

       f.      misrepresenting that their products had beneficial health, wellness and
               medical uses.

       As in the RICO claims argued above, through evidence and testimony elicited in


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this case, Plaintiffs have proven all of the above categories of deceptive practices and

false advertisements. Notwithstanding this limited list in a.-f. above, the evidence and

testimony Plaintiffs have elicited in this case prove far more bad conduct. (See the

Affidavit and accompanying reports of Dr. Kenneth Graham annexed to this Motion). Dr.

Graham is not only a Forensic Toxicologist, he is a Pharmacologist and is competent to

and has testified to false advertising and labeling as well, and Defendants’ violations of

federal law.

       The multiple media advertisements and affirmative statements that the Tincture

product had “no THC”, was “THC free” and had “0% THC” was painfully misleading.

This was conclusively shown in Defendants’ own Certificates of Analysis produced in

this case, as well as the EMSL lab report Plaintiff obtained regarding the Defendants’

product he took, confirming an amount of THC in Defendants unopened bottle of the

Dew Drops Tincture it later sent to Plaintiff.

       Plaintiff Douglas was a reasonable consumer acting reasonably. (See the Affidavit

of Plaintiffs). Mr. Horn researched the product on multiple media; he relied on the

multiple express representations that there was no THC in the product he bought and

took; he was aware of products with the innocuous “CBD” in them, as opposed to the

illegal THC; and he was well aware of the employment repercussions if he did ingest

THC as a truck driver subject to DOT random drug testing over his then 14-year career.

       c) Injury

       Again, while Plaintiffs do not seek judgment as to damages herein, they were

severely financially damaged. As stated above according to Plaintiffs’ expert economist,

Plaintiffs suffered lost income damages from termination to the date of the expert report




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August 23, 2017 in the present value of 836,544.

       d) False Advertising

       As established, by Plaintiff’s expert Dr. Kenneth Graham in both his annexed

Affidavit and accompanying reports, Defendants clearly violated 15 U.S.C §52 in the

dissemination of false advertising with respect to the Dixie X Elixir Tincture product.

                                        Conclusion

       For the reasons set forth above, the Plaintiffs’ Motion for Partial Summary

Judgment should be granted and the Court should respectfully find Defendants liable

under Plaintiffs’ first two Causes of Action.

Dated: August 29, 2018
       New York, New York

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